     IN THE UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN
                   DISTRICT OF ALABAMA NORTHERN DIVISION




  IN THE MATTER OF:

  SARAH ANNE VAN HEESWYK,             )                       CASE NO. 19-80411
                                      )
        Debtor.                       )
                                      )
                                      )
  ___________________________________ )
                                      )
  RYAN ALAN VAN HEESWYK,              )                       Chapter 7
                                      )
        Plaintiff,                    )
                                      )
  vs.                                 )                       AP No.
                                      )
  SARAH ANNE VAN HEESWYK,             )
                                      )
        Defendant.                    )



     COMPLAINT FOR DETERMINATION OF DISCHARGEABILITY AND
   OBJECTING TO DEBTOR’S DISCHARGE PURSUANT TO SECTION 523 OF
                     THE BANKRUPTCY CODE


         Comes now Plaintiff Ryan Alan Van Heeswyk ( “Plaintiff”), by and through his
  attorney Jackie Ferguson Graham, and files this Complaint against Defendant-Debtor
  Sarah Anne Van Heeswyk ( the “Debtor” ) and respectfully alleges:

                                         JURISDICTION


  1.      On February 12, 2019, the Debtor filed a voluntary petition ( the “Petition”) for
  relief under chapter 7 of Title 11 of the United States Code ( the “Bankruptcy Code”) in
  the United States Bankruptcy Court for the Northern District of Alabama.

  2.      On April 4, 2019, the Debtor’s duly-noticed meeting of creditors was held pursuant
  to Section 341(a) of the Bankruptcy Code ( the “Section 341 Meeting”).




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  3.     As of the date of this Complaint the Debtor has not been granted a discharge.

  4.     This Complaint is timely because the date by which a Complaint objecting to
  Debtor’s discharge or to determine dischargeability of a debt expires on May 20, 2019.

  5.      This is an adversary proceeding in which Plaintiff/creditor is seeking a
  determination as to the dischargeability of a debt owed to Plaintiff by the Debtor
  arising out of their divorce decree pursuant to Bankruptcy Code § 523 (a) (15) and
  objecting to Debtor’s discharge under Bankruptcy Code §§ 727 (a) (2) (A ) and 727 (a)
  (4) (A).

  6.     The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
  Section 1334 and Bankruptcy Code §§ 523 and 727.

  7.     This is a core proceeding under 28 U.S.C. §§157 (b) (2) (I) and 157(b) (2) (J).

                                          PARTIES

  8.      Plaintiff is the former spouse of the Debtor, having been divorced in the Circuit
  Court of Limestone County, Alabama in DR15-900369 Ryan Alan Van Heeswyk v.
  Sarah Ann Van Heeswyk on July 27, 2016.

  9.     Defendant is the Debtor in the above-styled case.



                                            FACTS

  10.     At the time of the entry of the parties’ divorce decree the parties owned a house and
  lot located at 27684 Gretta Circle Ardmore, Alabama which was encumbered by a
  mortgage loan to Green Planet Mortgage LLC/ Planet Home.

  11.      The parties’ decree of divorce provided in pertinent part in paragraph 18 that
  “[t]he Defendant shall have all right, title, interest and possession in and to the property,
  and home located at 27684 Gretta Circle, Ardmore, Alabama 35739. The Defendant shall
  be responsible for the insurance and indebtedness owed thereon and shall hold the Plaintiff
  harmless from payment of the same.” The divorce decree also provided in paragraph 19 in
  pertinent part that “the Defendant shall hold the Plaintiff harmless… as a result of the
  failure to pay said indebtedness.”

  12.      The parties’ decree of divorce also provided in pertinent part that [t]he “Business
  Loan” held jointly in the parties’ names through Redstone Federal Credit Union shall be
  the sole responsibility of the Defendant. The divorce decree also provided in paragraph 19
  in pertinent part that “the Defendant shall hold the Plaintiff harmless… as a result of the
  failure to pay said indebtedness.”




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                                         COUNT ONE
        COMPLAINT TO DETERMINE EXCEPTION TO DISCHARGE PURSUANT TO 11 U.S.C.
                                SECTION 523 (A) (15)


  13.      Bankruptcy Code § 523 (a) (15) provides, in relevant part, that:

          a) A discharge under section 727 of this title does not discharge an individual
  debtor from an debt -----

          15) To a spouse, former spouse, or child of the debtor and not of the kind
  described in paragraph (5) that is incurred by the debtor in the course of a divorce or
  separation or in connection with a separation agreement, divorce decree or other court of
  record, or a determination made in accordance with State or territorial law by a
  governmental unit.”

  14.     The parties’ decree of divorce entered on July 27, 2016 created a debt owed by
  the Debtor/ Defendant to Plaintiff for payment of the mortgage to Green Plant Mortgage
  LLC/ Planet Home and to Redstone Federal Credit Union. Said obligation is not
  dischargeable in this case under Bankruptcy Code § 523 (a) (15).

          WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment
  determining that the debt owed to Plaintiff by the Debtor/Defendant resulting from the
  parties’ decree of divorce is non-dischargeable under Bankruptcy Code § 523 (a) (15) and
  granting Plaintiff such other and further relief as this Court may deem just and proper.

           Respectfully submitted this the 19th day of May 2019.


                                                         /s/ Jackie Ferguson Graham
                                                         Jackie Ferguson Graham
                                                        Attorney for Plaintiff
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